Denial of new trial after conviction of cattle stealing was not error.
        DECIDED SEPTEMBER 6, 1941. REHEARING DENIED SEPTEMBER 23, 1941.
The defendants were jointly indicted for simple larceny (cattle stealing), were tried separately, and both were convicted of the offense charged. Each defendant made a motion for a new trial which was overruled and that judgment is assigned as error in each bill of exceptions. The evidence, and the grounds of the motions for new trial, are substantially identical in each case. A careful reading of the lengthy brief of evidence in each case convinces us that the jury were authorized to find that the evidence, though circumstantial, was sufficient to exclude every reasonable hypothesis save that of the defendant's guilt; and the finding of the jury having the approval of the trial judge, this court can not reverse the judgment on the general grounds of the motions for new trial. And none of the special grounds of the motions shows harmful error.
Judgment in each case affirmed. MacIntyre and Gardner, JJ.,concur.